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Judge: Goldsmith, Mark A.

MJ: Morris, Patricia T.

Filed: 04-23-2020 At 11:31 AM

CMP KYLE RICHARDS ET AL V PERRA (SS)

Tn Te Onived SstaveS Orvsetrict Court
VA Ky\e Brandan Richards #Gur7\S

Baraga Maxktmom Corvectionar Tacivity
\BADY GAGEDHS Td Baraga, NL, AOS

Compraint (veris

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DA Keaneta OO. Prot # 7OSDI1S
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3.\ Robert Lec Kisse€ee # S7TSG3BA
Baraga Maximom Correctional Facity

V9,
VBADN Wadaga 1O, Baraga, ML,YyO908

DecendantsS *
4) (First Name Onknooal Peritva
Residentiar OMT Manager
Baraga MaRmom Correctianar Fackity

ase 4 .
C VBaADH Wadagse VL, Baraga, ML, AAA08

Joosze -
(Sued iA Personal / Tadiwidvar’ Capacity}

The FYouowing 1S A Civil AETON wrovuGHT
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Penarty OF Persory. A ~ verted” Complaint
CarieS We SAME GEADRT AS AN AFR Qavit
Porsvany To 28 O.9-C VG. ‘

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Dame Person.

Sometimes Seered ‘Tera’.
-Cv-00076-HYJ-MV ECFNo.1, PagelD.2 Filed 04/23/20 Page 2of51 2

STaAtTementr CK Jonsoaicnon

The Conomiag Aeron AS A Cavit TWGNTS ACTION
lprouagnt AgarasT R.U.m Perta, A STaye, Agent
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Enygaginc Vn RB VECENTIOOS PATTEXOV QC SEXOO\

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‘tadiwidvar / Personnel’ caraaty.

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STATEMENT OF Cacia AND Ciaimne

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ReESisential Cat Manager

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ween Erivo\oos,

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-Cv-00076-HYJ-MV ECFNo.1, PagelD.4 Filed 04/23/20 Page 4of51 “

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aoe fie Ws Action AT VASK To OOT \VWweSs

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OF The Onvteo States Consitonon, (PR.E.A |)

VV OA Gr DONA, B.ouwn Perta Stoppeo Prairie
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ATOOND QD O,C1OK, Sierwag Oivectiy Vo
Pliaiamnce, “we wNweeo Vo Tarn”
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HOOSING Oat G R.O.M PertaA CortTinvced Orvmnopve
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WE Ganres To e€xplore

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RB. Pertans Otter ARNO RESCONOED ‘sy SaYVIKH 4
Rum =PertA, AEPEATCO

me Tne wer aArone”

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i€ PrarvaTice ENESCO VA Sex Worn” For

RB... PETA,

V-00076-HYJ-MV ECFNo.1, PagelD.6 Filed 04/23/20 Page 6of51 Cs

On Busust 50, QO1iA , R.U.M CErtIA, Aoeroacneo
Pravane RBicwearose acor 49080, 1A G OMT WOLS\ AS)
WIOCK, STATIAg = * This IS youre Last Chance ,
boy, YOOT S01Ng Vo Focw For eC, voy, OY Ti Wave
your ASS, OY. Novwody, TENS OVC, So.” WE Ararily
COINTEN HIS Giager Oiwecty 1O The Giadow Of My
Cei Ooor.

“AV On Jaavary 7, SGD, OoVrmns MOKA, TOONAS
R.O.M PerraA Aooproacneo Prarance Rieworoas Ooor
AT WOOT OCT Bo Anco STAVE | Y Do GoHNayTy We
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NO, LT Goat.” Ba. PErTe TESPONOED 4 s THES
Ten GOIN To Kin YOu,” ( Tris HADQVE (IAS
GINeSSseo ‘wy FENOGS Lamate PAAMATI CE Prow't

4708913 §GDNO WAS TIGHT ACCOSS We WON. ‘\
Drv PWVQVITAKE Bolbary KRisece #575634, ey CEOS 1 DO \

S,.\ On Janvary 1S, DODO, OVA AMOK VYOONOS
Qo. PETA ApeproacheO PIManee RPyewnarosS
Door ANG Stoteo > * Are you Sicw CK Seeregnnio.
TI Bet YOU Gent Ovr. you wKacd Gwa't YOO

HOVE To OO. Foc Gro 'L TEV, YOO TO AYO
TW Ler you 90.” Praiance RicHaroOsS YESeronoeo
kWO, T Gont.” ROM Perma Lovagxco.

(Ts EooverSanion Gos WATNESSES Dy \
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\oeKcd Next DON.

INSO DB P\OOTES, AS CoC A
Robert Kieece #975634 one
my Cer DDO.)
-Cv-00076-HYJ-MV ECFNo.1, PagelD.7 Filed 04/23/20 Page 7 of 51 ?

AS NOTUR AS) TOONODS

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@.\ On Janveary Dona SODIO cee ByvcunarOoS CeN\

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Lamatre Proitt 4 7OSBS\S ANS POTS eee
Kies # S7SGSB9 . 2ho Locked NEAT OCOT A COW OD,

7.) On Janvary 99 , DOO, adoring Ora FOuaAds
RQ. Perta AgwoacHED CEw BAW 1’ ROCSTWO Oo
QB ANDO wEe_anr Vo Laogn Seyi, S You Tawiasy

I. PISS wOyY, LET ME SEC Wat OV1eK “oe Te
Draratiee BicwavroS TESeonoes ’, “Leave me mone”
RB.0.M PETA STATEO, Y NO, T Wont.” Tis COOVversenon
CIOS GiWeSSeoO Wwy PIMATIE Tamara Prortt #TOZSNS |)
AND O'OaViee Roper t WSS t SISGABA, Lov WoCKeO
Noxy OOO} iy Ce O30.

&.\ Qn Felbboary “Am DODO , OvrmTing MormMag rounds
Rou. Perta ApPproceHeS PriaintTiEe Ricnarcos Ooor
ANS Stateo* * Come On bwitcw woy, TAKE ANatAct
Piss For me, Piss For me teoy, S90 Ti eT Yoo
GO WHome.* Lnmate Ricuaras TEeESsPonoce Silstinesy’
P\EASE Stop Narrassing ME” AND *PIENSE lEave

Me Mone,” R.OLN Perta responoeg Stating *
© Boy, Tr Focriag Wii You boy, Wet OAT
yer my Wands ON Yoor Prey WME moot,”
Tis COOWETEOTION COS GNTNESSECO wy PAMITIE
TLamare, Croxwwt # 7O3TIS , NW (OV ATIER
Robert Wessel # STSEBQ NG Loewe) Next COW
=Cv-00076-HYJ-MV ECFNo.1, PagelD.8 Filed 04/23/20 Page 8 of 51 &

4.4 On Felsvoeary \St%e DODO, dorrins MOMMA, TOOAdAS
R.v.m Perta Agpproacueng ceil DOA , TLAMOTE BicunarOdS
Ce AA MOOSINS, ONT |B, AND STAWO Sax Took
Oy. YOOT DORA Vo awe Me YOOT ASS, ONE Gay
Or AOOTHES,” Trese Dords WETE GIATINESSEO by
Tamate Ano Praatnieg Prowr #4 7OBS\S , GWO

LocKeo AN Cer. OBB , ANQ OFECTy Ovserweo
The WnaIe Oialague, 4] cw AS WaT Rowan
Kesssce 1 O7SGBA Gling \ocwkcdA NEXT ORV GY CoM O20.

10.) On Febvary \38%IH DODO / dormnag MOF) vOUNdS
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Cen AN WOUSTIAS, ONT FY, AND ViIateo s * TPT Have
Tne POWET To REEO yOu iA SESrEegQavion Forever,

Or you TaN Fot« Far Me, poy.” hese Cosorag
WETE DAINESSED wy TAMNOETE AND PIAMATICS
Proiwtt 4 7OBS\B And ¢ PIMA RowEET i SEC HN SIDS
Who Loerco wexy Goor 1a CEN O50.

VA.) Cn Febuaty 2G 11 SODO , daormag PMOTFAIA TOQADS
RB.O.m PEertTa APRPTOACMHED Ce DOA, LAMOTE Ricnsarvos
Cew AN BOUSING, ONT 3B, AND SIATCO* “LT Bert
YOor BIA Crary. yoo KN0G Svat you
Have, To a0. Jack CO Boy.” These cooros
WEre COWNESSEO lbsy TnmMmere And Prorio’t VER
Proaiwt FF 7ORS\3 + BOO Pray awe FAc OUT WERE. ESIGN

1a.) On -
o - 7 ZS TOa 2 )
CO 3a te TOMES Tameare Qicuaros
POA AN HOOSIAg OMT Qo Ang STATED °
“WAVE YOO HAQ Enos. ReEBOy TO Piay Bar.”
These G0rOS Gere aoniWessen \py Toamare
ANS PAGAATE EE PCrorirwr # TOBSA\R © AWD DVM ITE
ROC WCCO H GIGS 59.

Ney TOOROS

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13.)

OA MeareKH l\O™m DODO, dorriang MS CHOTAIAS, TOONOS

ROM PETA ApPrOaCHEO Ce\\ QaQ AA ROOSING
UMT ZF AND BSTIATeO* * ave YOU Jackinrs Oe, boy,”
PrveraTtiee Brewnarocs VESPONDED * YNO,Siy, Im Tawias
a Piss. Preage Go Bowoay 2 ROWAN Perta RESPOADED
SIM OoT Or Avy IMMBAY. T Want You Vo Pias On me.”
Tims Diaio5gec Was direety WIINESSED wy

Pratotice BAD LaAmare, Crast # 7QO8S\%  , ANDO VMAT.G
ROCETT FSSCE RISES . .

Wy ON Marca 1V8t8 2ODO , dorrias WiS Morninas, TOONOS
R20. PerTA AprprmoacHEDN CE DOA ia WOUSIAY
OMT A ANOS SsTateo To Crannicc PRcHaras 4 *yoKen

YOO oct OOF, LT want you Yo Pies On me boy
ike you Piesed i Trot VOUNCT pow.” Praianee
Ricwnaros FYesoonoeo, * PI€Ase Leave me Alone.”
Tris Aiaioaque Ss Orrecty WITNESSED by PIAA
AND Tamarve Proiwt # 7OaaIZ 5, WHO LOCKEO
Orreeny ACTOSS The Wan Cromn Piawnicee PIcHnaros Avo
PIB ITC PORT MIObEC S796 39.

\S.) On Marcwn DGtyN DOSO, dorriag KIS MOTNAS
TOONAS, APRTOACHED Ce,\ BOA , WO WOOUSIAE Ort 3,
R.UM Perta Saved Directiy To Prainnee PicnevdS’
~“ T Koow yoo SoT A Parare HEQATIAD COMMAS

Op soon. ITE yoo Gant Wo Gc nome Wer

yoo Wit Give ME GwHet *L GIANT ,”

LONEN DIATE PICROETOS STAVTCO VO
GrotTestT, BO. PETA Saved “Gwe MC
your ASS A YOO Pant & PASOVE |
These STATEMENTS WETS itnessed \oy
Tamote Prainne Crom #F 7OSSIS LAO
DIATE ROwEST Wyisock. # D7SGAQ

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1G.)

Or Apri Let DODO, dorring WS Mornay TOENdDS
B.0. PerTaA ApproecwneO Priwasnwdnwwis ce RBreworos Ceri
2-A8-9Dq - NOOSA ONT 3B ANG STATEO”’,
“Im going To SET your ASS, boy. TTS Tost
A martrer OF TWme petcore yoo aive id,%
Trig STATEMENDT COS GiTMEsSSEo wy PIMONCE
AX Lamayve Provtt # 7OSS\S 2 AO DrAavce
Rokért Lee Risesce HH &/56,49 |

\7.N On Aes \5, 2CS0, Adoring Yigg Moarmv’iney TOUNdS
QO. Perta acproacucd PraiaTice RicwnarosS Ce\\
-d- D2Q~ Housing ONT 3B ANO States *

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back,” TWiG STATEMENT WAS A\SO GTN ESSCO
by Piaance Proivtl %7O3S1SB, AN WieotC # S/SG39

13.) On, pori ™. S050, Aormiag BSnower We,
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The \ect Srnower Sta, \LocoKwiosg Or1recty 4%
Prainamiee TrcwaroS Gena Wve Area, XO
eaten, “TM Come 10 Wec ANDO Tanc TTWiot

Prom yoo if LT rave Too.” RL. PEFTA
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MannAcY MEANT To Wt SHORTS, PVOAUVTN EE
QyeEwarTOS, Wis WAG WITIESSOo Dy

OTH DOA ATKQ PVOTT A TOBRSIE ANNO

K SSCL #O7SGSS .

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~OnAneattay Geignt Gain’ AND “HIGH \bicod

Pressure

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Tagory GITHOOT First Showiag * Physical Tngory.’
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Marth Dom , AND Aeri\ \AT™H , OF S020.
Laternay piceoing HAS Cevséd Fatigve ,

NQaOS\4 , DAD LeETWATSY.

Psy cHnolosica\ Lagory inciodeS P.1.5.0 ,
“C\BOSTET PROGIA’ ANG ~*XEnoonoveiA* AAO
OTher yet To we deterrmanco CFFectTS OC
PSYCHOIODSICO\ Trauma. (Expert wecoeD |
A NOAM.0.0.€ Noetral Medical TxPErT Gi
be NECOEO Yo OEetermne Wwe Forr eavent
Of “Prnysica\’ AND “MENTA Logory.

= I ‘Geld MY BER NS. 1, PagelD.12 Filed 04/23/20 Pagei12of51 \oe

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Macho, Wher WS \e ¥ WAITING) SCL ropin A.M Ror SKored 4p me Stoo

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Alen She nets SCC wos. TL Said *o BARM Pera Where does th Soy
and WCY Your Com Le OF ME OF A Yo Me Whe Mor Werke
wr Xo HOP BNeweng my AY and “x. Warged CALSOLY Kom

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ne doos - ceoner TMneds WN everytime Noein oom Aho
re ceeroed Whe \nall\ Lday, Team ME:

( Bota Piaanes Have Signed Tre *Vveriticd’

Comaraiat , PorSsvant To:

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Dureose OC EviDEe. |

Page \———S
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nods nude Dody w® vy remote Ot\icer’s ane x Said to ALUM Packy
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OF Th Cpa) Yo eee you and the hole 4i\ You Max's Oa PlantiCC
Kicnrods oirqessed CNET Ying h LM Pecko. WOS Saying tome.
\oeing Ceaht accross the no\\ Uody From me avd Oe \\ 74

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q eh Gou a6 Pk.
Yneacd evecyth Ng eine Clot nets hos Party Vichords

Od CesPonded “Wired § :
| & TUOh OLE Your Sa
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wn UP-hU.MYerta Loaurohed docosn the Stair’s &. “Mm COMO Yo Ldcitte
Vichords Witnessed eoerytining. mothe Shower Rissner

Page aS
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gad Stated You ilove WHET TL Loar Yourto do For me.
Fuch vioge’ This WOS Lottnessec! by Anmoke Ach acdsy
accross the Nole Way From me,

Cian L AvVESaTiOAS TAreTing Ta Prisoner Provtt
/ PrMaTi€Ee ProrvrTrt Are Secmoneéd in PYENIOUS
Pages , wuueTins # | - cS

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ProwtT iS €adoring Ongoing Physicar Loagjory,
INCUdTAS > VYoMMITTINgG, SWEISNT LOSS’, And
~HIDH bwicddd Pressore..

Extent OC Physical And Peycuolosical
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KR MEDICAL TrAPETT,

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Claims wy PIQOT.Ce Row ick W.Ssce

V\ On Jan. D3 ©. DOD, RouM VemrTo cama. To
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The hae ASS Long AS yoo Siey SucTwings, Them
Nass YNERES, ” Tie ANSVAGATIAN OC WAMOSCAMNW Vy
CoES Meany Vo warrasH PAM ATIEE Wvooce. Thesc.
STaTEMeaTs Gere AVS GATOCSSEeD by PAN ITIVE
RicnaAtosS #GON\TIG, Coho VoCREID Nex OOdV

D\ On Feswary VS DODO ROM PETTO Wo #
TOUS | AAD AoproacncO PIQ\VOTICE Kissce’ S
Cay dan Dam awo Saino) (Me. wesce , Ave
you VYenoy To be WwrItc PxQVirN Lx) \EAwv

Dirac Mea» AONE TAs Oct key.” Tris GOS
DAGO  GiTNESSED ‘ey PIAMIONTEL PacHnayS #GAar7VS,

Congo locked (yeXxkyT WOO:

31 Aga On Feouary GO, D050, Rv. VExTTO
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Harassimy Nels Rar Pera cvreaeorxco ,
> Cauce,, Onere PT GComc Fram , Niascv LW Cre,
Door Last, Lover toy. Fock For me.”
The Comments Were NGO GItreSssceo \oy
PACWATICE RICHATDS.
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4. On Marca _ oOodO , ROL RPerttTQa Cane
Yo WPieavyri ce Wi SeseesS cCeyw Ooow AWOoO
Said: * yoo werter Tememecr, OWT PEOME

TL Cand Wave you Wilco

VUE VYre Gorid,
AOD Nowody Wi EVEr Know. UMNESS yoo
Jac Qe For Me boy” ‘Ynese words cre
D\S0 GITHESSEO Hy PIANO Ricnaras, DNno
LOCRS Vicar NEXT UcCt.

S11) Ow Apri 9 DODO © Dorriag TAA AD
TOU \AS ; TL peered RoQ™M PEXTTO | “ Loony
WAVE “TL ween VA We Wove SO lors, L
Sce Tne Pare Board Wy Cctow~ey , AND
Im Trying To Go Wome.” Booem Pemtc

TESCONOED To primar wissce., SIAT.AS 7
~eyrce yOu Sver Nisséev Over, yOu

SROUVD LEY Me MAK Some MOMCy

Oe YOu.” PyaiaT. Ce WiSsEee. Tessoo wco )

Ss ganar GO YOU MEAN wy THAT AWS
Qo. Perito AnescrcoO | “you we Wy
Hoe BOAO SCV YOON wody., “LA EXCMOANDS
TW GWE YOO Oregs AND A CC" PMONE." .
Dati KISSCE OogecTed 7 TEM WV Goy-
QUu.m Perm YEPVed , Trea yOoQ Wort
ENEX XACT Cor Cf The Woe a

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Over The Past Six Montns, The pwenavior ae
Bou. Pertto, ANG WS SEexoa, Abose was
Grown ANCVEASIAS\y Worse... We TLatimoarion
AAD VWareates Priace Piannces 1 LTHmediate
MSk OF Physica, Warn.

ROM Pertto IS Lsing WS AoTHOTITy To”
LI = «6 Force Pramatmiees And OTner Inmates

|

|

|

To Sirio Naked ANG TxPOSE Themselves
To kim.

B\ Force Praintiees ANO Otter iamartes

To mMmastorpave For him, Against The
COVA,

BA Forte Praiane€s To Perform Sexoal
ATS Cor WIM) Against Their coil
EvEN Yo The Point Of Rave

,

Ref€osat To Comply GoITH R.O.K Cerito’ S
demands YeEso\tS Ww VTetaiatysan , AND
Qnagaiag, Trreats Of Prysicar Violence
AQAAANST PIAINTICES, Tne Prmoaneca Are
VA Mortar Danger. ( GSoppMMENTAL Ciarimse
ASe pravawnt Onader Mer. 7FSO.IWS MIO
For *Vyglnerarolé Adit Alnose. \, INS
Under OS Const. ADM 7B ADO WW, A&VO FY

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Ciaim 2.)

Prainmces have been doy Prevented From
Finag Grievances | COMPDIAIATS | or PEVITIONS |
One@rcri1e€ Vo Porsve Qr SxWnaosy AS MIMStrariw e,
VEMEMES OF SMeEvAaNnceS TTevarTrea To ries

MeTTEr .

MOre SO , PiantiC€s cere THreateneo Aag
VETAVNLATED A3Q10NST Cor ATTEMPT AS’ Xo
FNC GrievanceS PertaiaraG Yo iesvues OC
LIM GATION PresEQT IN WS COMPLAINT,

AOD Ate Correntiy in Prysicar Peril,

PIMaties Gere Nor OmMy OS STrocres® Fvonm
EXHOEOSTING AdMoarstrative TEMEcicS, bor
Wave WwWeEEN Trhreatenes avi Mors |
Yaager For OWM9QGITIy WyiQs Yo Do So.

AW Praint&Ss Made A OUsseEnt |ECort
To resowe Wwe Said MIiSPpoTe, bot

WAC PCTSISIEM » “Olsstrueten’ From

TXHAOSTIAS Temeoies. Praiatieca Fear
ror Their vce Aa Seccty AND Are
ONder The Lmminent Treat oc Serious
PlaysicAl WHArm,

76-HYJ-MV ECFNo.1, PagelD.19 Filed 04/23/20 Page19o0f51 \A

{ PLMATI EE Aicwatds \

1} On AvgoST NATH BOID, PINOT ArcuaroSs had

Submitted W Prea (PricOoN Rape Eucmaenon Act \
Grievances ASaINST R-O.™M Pera For Sexoa\
Advances he Made Towards Me, As Aesccmvesd
i Claim 1. Dorriag AETOTCOON ChanerS, TL wad
Sobmitteo Tre Grievance darvectiy To The

Ont G Moai wox.

AT ArOUNOD 10 G,Ciock AM, RO. Perta
ApproacnhéO Praranice RicHarOS Cew Ooor,
HOi\ding The Same Grevances, R.0.M Perta
STATeO ; * Tm NOT Letting You FiE hese
Grievances.” We Procecoed To Tip Them
Up in Front OF ME, Gn

o-) LT Was awie To Soebmitt Over A DoTEN
GrievanteS, Onre\ateo TO SExXLA\ Anose ,

AAD Trey were ProcesseO., PIAINTIES G5eS
Abie Yo Soetemitt * SOME” GMievanres,

HOmeVeEr, Any GrievaNnc€S SowmMnrrea vreriates
~ eo, vyEr FOT Processco
To * Sexvar Ailoose”, NeEvVeT ZO
Ane were OEestoxyeO. ON AvgAvSt DO™
QO Rom Perta STATEO, “SIM NOT

Cs0ing To set you S\N
ADSSavuirt BnEevantlesS .

e Any SEKOOA\

3) On Janvery 15, DODO, Oriaiantice Arcunaros
Submitted AW Addirioners O.R.E.4 Grievances,
by Placing Trem in Wis door, R.o.M Perta
Came by tA Whe moras, ANNO SaatcneO
The Grievances OOT OF My Ooor, STAaTing ’,
“These ATE Going ia Whe Garoage”

Praiatiee Prot Aso directiy GitInesseo
WMese Acta, & WO’ &5 PAA IT CG KiSSCL.

4.1. On march 18 , QOdS0, Prvamaane Arcwaros
Caued Wwe PR.c.& Prone Line  &oo
VEeporteo Bo. Perta For SexcEe\ Aovoel.
& Week LaTer, On MeTcH D3vd We

M.00.C PREA Cooridanator Came OP TO
Wieit Piaiantmice RicwaroG GRO SPOKE AT
Length AwOUT The SExva\ Moose.

S.\ On APri\ 13, DOSO, RB.O.M Perta

APPrORCHEO PIAINTICE PAricHaroG Aocor At
Cew DOA ADA Wousiag ONT 3 And
STATEO , * GO AneQo ANO KEEN Firag
Grievances. were TE@oinasg Wem,
I Cnoose wWmcKnw ONeS Ti \eT Yoo
Fue. Wiese Words Occ A\SO
GENTNESsseEO wy Prarangg PToVTIT, AVS
Plainnce RowvEert Kiesee.

76-HYJ-MV ECF No.1, PagelD.20 Filed 04/23/20 Page20o0f51 YY)
6-HYJ-MV ECFNo.1, PagelD.21 Filed 04/23/20 Page 21o0f51 J\

@-) On Aepriv, Wm, SODO, dourring Meraing round
R.u.M Perva Approacne Gy P\AIANTIC RAicHATOS
cei’ door DDA AV Oat B& BNO SIArvEeo To
PliainaTiee RAVCHATOS, > SEND BOOTWEY FUOKRIAS
Grevance. Loy, MAO TWN Focwiag Kin YOU, oy.’
RB-O.™ PertTa Appeared Angry 400 ANNOYED.

This COS NSO GRTNESSED by Patan Moir.

7.) On Aeri\ \S, DODO, Adomag MOMmag Yoonods,
R.0. PertTA Came TOAMAD wy Prvarianic
AricwarosS Ce Ano SoetcreOQ 3B RRWA
GREVONCES OOT OCF PIMATICS BricwarosS
Door, WE ProceeoeD WO RiP Wem Op
AQ STATED > * Why CONT you SIO WT, boy’

Twig GAS A\SO WITNESSED by PAMATC Provit
ANO Prmnimee Rowert KissSee.

6.) On Aor AG, DOSO, dormrinasg MOF AS YTOONDS
RB... Perta Came To PrainanceK RicHaroS
Ce. Qoor, yeriag » *S@eKre bE MOTHer
Fucker, Werke Oo” ROM PETA Tren
Pot We key la We door SOT ANd ACTED

Like he Gas 90InNg To OPEN We Ocor ,
Dano STATECOS +s No More Fociag Greanccs,
TWis (eS AISO DITNESSCO py PIGATIM
Pruitt And PIMA RoeertT WiSSCC |

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{ Praiatic Prom |

Ll On £evary Wm DODO, RB.UM PerrA ACpIOOCNED
PiainTice Proiwrs Cew 2938, in hoosiag OMT 3.
DANO SanatceueO BD PRL.A Grievances OOT OC
The Ooor, We read Wwem Brood &AO Then
SIATCO ’ * These ATE DOINGS AN Whe Tras “

HE hen carKeO ABwoy, Cromprving OP Whe
Grievances iW Wie Hand. Wis WOS AISO
GoiTNesseO wy PrienanikKk RicHevos .

—.) On mearccw, VAN, DODO, ROM PEXTE AoprorcskeD

Praintice Prowts Ce OD3B, VW WOUSING ONT

BS AND Was holding A P.R-C-A Grevancc

AV We Wand, R.O.m Perta wen STateo |
“Ten MOT Letting yoo Gite Wese. Meir
Boing Ar Wwe Garbwage .” HE hen COOKE
AWary, Wire GOS AIS GONESSEO vy
PAA EE Picmaros,

Bl Qa Aer 196, GOSO , RON Perta

Stopped AY Preianmcee ProwwS Cer Words WS

A ~RREA’ Grievance. HE STATED ?

“"L Toi\d yoo. No More GMNeVvances,

Ti FucKias Wy YOu. RHE Tren ProcecncpD
To Tie OF Whe Grievance. Wis WAS
A\sO GkTNESseQ wy PIarance RicCHaTOS ,

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( Praonee Rowat L. wKicsee \

VV ON Janvarvy, d\ »,A0OS0D, Ram Periws9 dorriag
MS MOrmMas YOoNds, SIoppPEeS AT Praiatic
Kieeees Cen D300 door ano SnatceneED Tro
PREA Grievances Oot Of re Side OCC
We Ooor AnD STATED? Tan ot Vetting yoo

Fie. Tneseo Rom PeritG Then Procecoeo

To Rip Cp The Grienaces. Wig Was
AN\SO

LOVINESSED Wy PVGAIAT ICS BacynarOS BGOAVI\S

PD) Oa cemuary, 17  2OOO0, dorrigng Moms TOUS

QUIN PerttO Yan past Ce\\ DSO XN
Snarrned B PR.-A Grievances OT OC

Whe door, These Grievacce Gere PIACEO

WV Tne aAcor For Suemeason, Room Peis
Men “Crompied’ We Grievanclhe 1 Wie
Wand Ano Tossed Them acivags he VWAAWO AY
STAT Ay yo Foekiag Comaptimams .”

WAS AISO GiTVeese oy PATE
Richards 4 Gang:

THiS

ae

%.) Of April \GS , Dap SAA MWe AETEFNCON
Room Perro Approacnweg PAAMATCE KiSsee’s
CEN AT Cen DBO, Hoiding FD RRTA QVEVancc
Forms. RO.) Perwto Stren * Fue Anotner
Foi As Grievance Wissee AND Tih FoOkins
Ka you © Then Tipped OP boTH Grievances
WS Das ASO GitTnresseQ DY PIMOATRE

RA CAAT.

0076-HYJ-MV ECFNo.1, PagelD.24 Filed 04/23/20 Page 24 of 51 oA

DNV Dd PranMiecs made. Agent ANT EMNDOIS To

CVE MOWAT DO RQEA Cori€nances wWASEA OW
Provicie SeExoar WarragmentT ANO Lie? Twente nos
FETAVATION. (Ta Viniatian OF 0.95 CONSTTOTION &% 1,8,\4 }

MoarTH ACTeY MormM ,  Oraiaticco WE BSo_oOiVeo
“Dozens Of P.RALA Gricvances, Oy To Wave
Rom Pere Piter Throvan The Me ox

Or SAaTan Oo Grriev ONES Giort Or OoVv Dac
AVS TAR Wem Op iv Front Of OU.

(\ AIATIEE Ss Wave. TOT On\y ELAN QwoOoOWVWocrT en
Fram Exhaostiagy YCm ediES, wot Wave wee’
Threarene\ Gora THOVTO\ OANscy Far AaWigenny

Vorins To Ue So.

Apart Crom GrievONceS, PyaianGs HAVe Made
Over & dozen COMAGIATS Yo Tre AME PRLLA
Cooridinavor , Ano Severa: Non Proeit
Advocacy AVOOVS, Socu AS (F.0.5)\

JOST OEtTEATION “TLnternatiaona, And AFSC,

Prainnees ATE iA Immediate danger
And Fear €or Their DSACTEy, Pleadiasy
tor Immemoarve TLorerveation. Crams ace
brovewt Gor ViIIATION OL O.S ConsioTioN

ACNMENOMENVTS VL, 8, AN0 a, ( Suppumenrai CAAIMNS
Are brosur Unader MCL 7FoOANS m/N |

0076-HYJ-MV ECFNo.1, PagelD.25 Filed 04/23/20 Page 250f51 25

Cram 3.)

AW DB PIAIATiEKS Craim They Are DEeINg
Mrongloily Heid WA AdMIAISTraTIVE, SESTEXATION
iW Revavation Cor Fiting Grievances ar
“ATIEMPTING” To Sue Grevances AND

ComMants Tevates YO ONAN SExoal Nio3S 2

Plaiariees Ciaim Thar ~“RLO.M Pertru’ Ser

OP PIMATIEES itn Cravoduiaay
IW Order Tw Ismate Them ia
PEMEDVATION ,
Tore MOree
AwboSe .

TMHSCANIOOCTS,
AdM A STraTive,
Gnere, They Goniod Wave A
VCOVT Time VEPOFT A9y DBECRKOQY

TT IS HB WEW Koon Facr OF Crimino\osy
ANO Criminal wehavior Wat Sexoai dewant
Predators, Always SeeK To ismare Their

VICTIMS , LTSaarvion iG A& Form CE E€ontro\
Wecessery Yor Gneping VICTIMZATION

To Contiave.

Tan Ademmoristrative SeagregeTion PriaraTtr1ees
Ore Verativeé\y isovated, nave Vimsated
ACLESS VO Phone, Din TeEStrmenioas
On both May ANG Ema. TT ia ~a

Perfect Environment For SEXOAL AwDoSé.
076-HYJ-MV ECFNo.1, PagelD.26 Filed 04/23/20 Page 26 of 51 DG

Tre Foiudasing detaisg How ECaca Prain4nee Das
Fracduiantiy Set Oe, AND Or “eénmmpped ito
bEIAg PraceO AD AdENASTTATWE Sesregatian,

( Prerane Brcunarosd )

1.) PlaIaTIEss Kylie GB. RicHarvOSs , 1S A We DoCoMemed
~VoInerarn\e’ Adot | Crassitied AS A Volnerao\e
ABT Oaocer ML 7FSO.\NS (mV ANDO (NIV, AND
reserved OO SCGCAL ProlecTEeD STaToOS Ove To
AD WOStT CE MENTAL Msowiwies.

Prarance Ricwaros Aisawiwwies TAANQe From

Y

The Conomiasg, Cormar Olsnosis

Wi PLUS.
aN AQNADSEO Yoy D2 MAMMOON OAWH AYO)
AT Wavenwyoak Wospitary iA D/ VAIS

2) Pervasive Deveroomentar Disorocr
diagnosed boy Or. Temei\ Seadi 10
DOCON-OD A WAVENRDYOCK WOSRITA\ .

BA Anti Sociai Persona\\ty Orcorder
diagnosed wy Or. RickKMaAN AN
Centers For forensic PSsyvcrietry 10
DOO,

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Wa warciesianie Personarty Oicoroer

diagnosed Yay Ov. AekmMan AT We Ceorer
Yor forensic Paycwtatry 11 DOOA.

{ See Exwiort A | For Ariagnosne PraotS \

(DO@ Vo Praranesg Menra ONSAWINNES VI AS
\moossiie Cor Piaianiee Ta dourwie wonk 19
Crose Proximity To OTrer ametes in A PrisOM
CAWITONMENT,

PlannieeS ASGABINTIES MaKe WEN Excessively
VoAIneraBie Tao * Violence | > Sex0val AsSavnrr’
AADd Expr1ortaTion, by OMWer iwMares ANO
EVEN STA. For Tris Feasan Piaratvice
fan ONLy Sately Loa in A Leven S
PAson ANG reaguireS A “Sinaie Ce’

Dera.

PIMaATICe Has wees ATTACKED, HEQy, Ard

SEKOANyY ASZAITEON IA Ane Past, As

A YeSarit Cf Leing Doowie Boaved
\t le ee ,

G’TA Vigleny Predatory jamares.
Prlavonee Bacharas iS Nor SIPposeo

YO DOVWIE Boak Qader ANY CITCOMSTAACES

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In ReTrananan Cor Citing Grievances Ano

COMMAATS , Roa.M Cera rerFotred Priarwnceces

SingQhe Cew devrait Ano denwoerately P\ATTO

PIaaTce On A * Transfer” Vast To be
Sent Vo & ‘dangerous’ Less Secure
Level W Preon, La Levey “Wo Prmsonc
PIAATIES Woaoris be Foreeos Xo Doone,
Bonk GttTH Vigveny Tamares.

On 8: SO°T (av9vust 50, D019) ROM
PerwTA YFo\o Prararee RicHarase, * a\ace
YOO WonT Co Hey L want aq

BSENOW YOO OCOWN Yo Lever, 4
CONES YOON"\ YEOW\y WAVE, Vy BAO ”

On SOO-\GQ Piaiatiee Browarags VElCoseo
Yo Comey Oivty A? RetaviaTory” Transter

AS & Tesort , PAMATICR Wag Gent To

Adc MSTTATIVE SEAregQaTion” Sev era\
TMISCONDOCT reporxs ere FabricaTes
by The Orrecvion OF R.O.M Pernta,

OATH AeTer MONTH, RB.O.M PerttO
FindS ANDO Canjores *ExcoSeS’ To

Despite Persistent Positive Behavior.

Keeo Piavanee Rrcwarog 0 DEQVEAHATION >
-00076-HYJ-MV ECFNo.1, PagelD.29 Filed 04/23/20 Page 29 of 9194

( Praiange Prost )

In Oet. AvgoSst, Rew PeritIo Arranygeo

For Severat Lamares To Prhysicauy
ATTACK Prisoner Prat. ACcTer Prisoner
PIAIATAEE > Prov’ Took > Preemptory ’ AcTION
Wo Sere Decense, PAAIATIEE Prowy asas
Marrow ia Adeimstrative Segregation
by R.o.m Pernn.

On Jan, Sta OOD, R.-V.M Perito Came

Prisoner Proitts door ANO States *

“you Like Wow L RAO YOu Wit,
EveryTiMe yoo Set Oot, Ti Have
YOU WT AQad AQO Ayan ANNO
Seat VNGrnt Beck To Segregainaqn °
These Goros Were A\SO GdVNESSED
Yoy =PlainTice Ricwaras.

Prainnee Prowst Gas Forces Jo TaKe
Preemptory Measures, ANO ATTAK

& prisoner B.oO.M Peri) SEenrt Wo
ATTACK Win, ANTROUSH Tre PABVATS ES
WES Covnd Gory OF MiSconsUcT,
WIS ACTIONS Gere IA Sere DEetense.

=Cv-00076-HYJ-MV ECFNo.1, PagelD.30 Filed 04/23/20 Page 30 of 5RO

( Praranee KisoEe )\
R.O.m Permo, iW Jone OF BO\4G ( &:G-iF J
Seat A Gmie Nanonanst BPAMetve To A Wack
Praratice Rover t Kiasee. PIAOVCS Ki ssee
WAS Coreg Onoer OUrtcese VO Fight
back. AS A TESO\T, PIANATES Ki SSCL
was Louono Goivty Co Fis Rag/ ASSAONT,
Ando Way ween REer\d AW Se€gHregevisen
For AO MON WS

On Aer Win D000 , Rw. = Pertto
Came To Piayamee Keesee’sS daoor ANOS
STATED» *As GOON AS YOO SET Oot,
Im Sendiay Someone Atcter yoo
Ayaan,” Wese GorOS WMETE A\SO
MTRESSEO by PIGOTIES RicHaros *qr\nsS

P\ Rom Perite iS delivberatery SEWING
Up SCENEM\1C]G To LATTASDP PIAINTICES
INTO IMCOEMaAS MIscOndECctag, Sometimes
RB... PEMTIG CEWMCATES MagconoUuciTs .

Wis “EatraepmMent? iS A Vactic O¢
MAM EOVAETION ROD CETITO OSES
JO Keep Prawnes Wa S€sregawnon,
-00076-HYJ-MV ECF No.1, PagelD.31 Filed 04/23/20 Page 31o0f51 ‘2\

AN\ 3 Priaiatrecs Wave Mara»rarsneo Alosoact€e
TXEENENT WENAVIOT, EWEA GnHiie aA Adar,
SEgres anion, Were iS Wo TEasor
(NATSOEVET, Manat ASTET G MaDTWS,

Praiati€€g, SNOO1O SV we Weao Va
SESrEROTION.

ROM Pertto'Ss Crvassieiveation OF PIAA TES
‘Yo AAMM Strenw e& SEDTEADAMNOA , AS
D\eSASTE\Y ONTEASONAYD\E , VEXOTIOOS ,
BAO Prain\y VETAVATOYVY,

RETALIATION IAYAST LAMares For
FIVNADQ Grievances A'S A Ach ASOT ,,
CONSTITOTIANA\ VAONGTION,

ote

wT 8 4 > f . _ ys
~ PIQIATIES Brcuaros, WISSES , AND
COUT

Wave Soterea PySicay Ang
MNENTO)\ “Lagory,

Praintiee Assertt GCimamg onder

O.S COASTITOTNION Ammenomenic #
1,3, ANNO AY, &5 Wer, AS

D0. & CaAmercan Gd) O'SASVWNES Acr. \
Praiamnce RBicmaroS Gro 1S META y
VV Cannot LEDA\iy Ce KEIO AD
SEQTERATION,

Crarim

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\e G
\ 7

PAAaA WOES Axscwnaras, PrQx~7zt, AAO WKASSCO
ASSEXT That Ream Pertto Wave Oniaoxor\y
RETAVATED AQainst Wem For fias
CrAievanees AVNO COTmMmAANATS ‘oy DWoMIASy
Dow Wear gray’ ACCOONTS, ANDO
Refosing, To Anow Then To Have
ACESS YO WHat GPS MNEcia piayer,
Or Actess Whe JPH MEOW SIOre,

On 3 DO-DO ROM Pertto oid Ai
Ss Prvaiamriees ~ ~*~ Sines yoo woot
Give ME GwRNat LT ant, wrone oC
Yoo Are 39ETTIAGQ Yyoor JCAy.”

A\\ Varese PIMaNeesS For Over \O
MOBATHS Wave , SETH DEMEOD ACCCSS
Tq Weir JOG Prayer ADO ACCSS
To Wwery AcKOUATS ANG MENA Siove,

Prainncs Assery That Trio Retaviatory

DEPNIVATAN, VIdOIATES TWreir Coacstaiononal
VAGATS, ONDEY OS Canssirornrow
IXSTMENOIMNENS F LoS, AN \4 , AO

\S NOT CONSistent Gasrvw 1 Sy Tanona
PENOIOSiCA\ IVTeresSy .

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VETA\VATOVy AE OTIVATION OG JPAy ACESS

THis
1S ASO Consistent GTR RLC.LM Perst36’S
Onsgoing Patrern Of SEXVE\1 AvnsvuSe.

By sEepriving Prainnees Access To Trerr
JPAaY ACCOONTS, Rio. Perttu, .s
UIPJECTVENY PTEVENTIAg PIBOTICSS From
COMMOMCEOTT AS, GST TTWEAY FATES
VIA Jrey EmMai\ SEVVices

By VESTITAIAWY cy AN

To “uwwriwten’ Pen &NO Paper Mai ,
B.O.m Perro can More Tasty MooVoy
AAO ConTro\ Prvaryonatieeag DOT|AWINs>
Lemers. Fl\ecrranic COMMOUMCATION 1S
More oreticoiy For R.O™M PErITO Vo

CANTTO\ ; BAO MONTE.

THIS ACOViIVATION Of JPay ACCESS

makes WW Mae Artticon For Praiatces
To Commoumecaye BPEXVAE\ Apose AMO
INCYEASES The OC€asree GE wurden ANO

WAATOSMIP Pieraticce Ave. DBYCKENAS .

PIAATICES COmMoaNcaign

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Cveaim &S °,

By B PIMBATREEGR CrAMmM Bi. Veswro
Mag VETA\VATYeEO IEXDAAWWNDSV DAAUVTIV OR S
For Giving Grievances AAD Comopyaiarsa
‘by TEE OSI TO YPTAVIOE Awd Deering
PAMatTieeS OL AccSesSsS Yo * Lined’ ar
“Caromnea’ Paver, OC ApoTopNaTEe Size.

RLU Pert «Gd On\y Provvoe
FAAIOTICRES  * BANK’ Vyeping Paper,
Way Ag A\mosr TEMNPDOSSi\5\E To
MIE A LES\Wwie Preaging On,

GATHOOT Carsmas | Lined Covumas,,
PAMATICRe, SITOHH\e Vo Gorrie iw

LZ \ kee STITAVS WT LINES ADO Oratt
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By Deorivia
PAOQIATACLS, O¢ ~ =

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\S SOversrzen’ WAT DO ANOMES

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ror Vega) SOE AM'S|IGrO0 |

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Praanees PrcardS ANO Prom Ave indie

Anwd CAANDT DLEOT 3 Yo POTEWAaA CSCO, OUT YPC UAT CXS,

DOE Va WOTH PIMA K Prorwzwt AND PV\Annie
Picwaros Severe Mentar wandicags ,
ivy Aq Tmoossivie For Tither OF Trem
Yo HaNoarvtwe Wer LeEaor Prcaoinags,

NOT OMIy Haw Pe. Perro DOEornved

Prarntreca OC Lined Or Cotuemned Paver,
Yor WE Nas AsO OCerived wow
PFAMATIES GDNo AYE (AdAA Dent OF ACCESS
YO A Vypeesnter, OF NECESSAT y
GOTATAAS, ANSTTOMENT .

Room Perro hase Made it OrKregyy

TQ impossible For Pvaromices TO
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‘Case 2:20-cv-00076-HYJ-MV ECF No.1, PagelD:47——Fited 04/23/20--Page 47 of 54 __™

EXALBT

Page 2
Richards, Kyle '
HAVENWYCK HOSPITAL Mamoun Dabbagh, M.D.
1525 University Drive MR#: 020015
Auburn Hills, Michigan 48326 , AD: 03/03/05

DD: 03/08/05

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The patient is alert and oriented, affect is brighter, and doing
fair overall. Zoloft is changed to Effexor 37.5 mg q.d. and then
increased to 37.5 mg b.i.d. There are no side effects noted from
the medications. The patient is alert and oriented. Affect is
brighter. He is more within normal limits in terms of his mood.
He denies suicidal or homicidal ideation. There is no
aggression.

RECOMMENDATIONS: The patient is discharged with the following
recommendations: The patient will follow up with his primary
care physician for all medical concerns and will be seen on an
outpatient basis by Dr. Sendi and Dr. Bob Baringer for-home
based treatment.

DISCHARGE MEDICATIONS: Medications at the time of discharge are
Adderall XR 30 mg q.a.m., Effexor XR 75 mg a.m., Lamictal 25 mg
a.m. and h.s., and Abilify 20 mg h.s.

PROGNOSIS: Fair.

FINAL DIAGNOSES:
AXIS I: Major Depressive Disorder, Recurrent.
‘ Attention Deficit Disorder.
Oppositional Defiant Disorder.

AXIS II: None.

AXIS III: None.

AXIS IV: Moderate. i
-AXIS V:  GAF on Admission 25 and on Discharge 35.

Mamoun Dabbagh, M.D.
Transcribed by Global MD Systems (mdsis.com)

DICTATION DATE AND TIME: 03/26/05 02:24 PM
TRANSCRIPTION DATE AND TIME: 03/27/05 06:20 AM

Case 2:20-cv-00076-HYJ-MV ECFNo.1, PagelD.48 Filed 04/23/20 Page 48 of 51

Page |
. Richards, Kyle
HAVENWYCK HOSPITAL Mamoun Dabbagh, M.D.
1525 University Drive MR#: 020015
Auburn Hills, Michigan 48326 AD: 03/03/05

DD: 03/08/05

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CASE SUMMARY

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DISCHARGE SUMMARY AND AFTERCARE PLAN

RESULTS OF ASSESSMENTS AND SIGNIFICANT FINDINGS :

a. History, Physical and Neurological Examination: Performed by
Dr. Kingsley Thomas. His.impression is laceration to the
left side of face. He recommends proper skin hygiene,
psychotherapy, diet for age, participation in gym, and
follow up with primary care physician.

b. Psychological Testing: Not indicated.

c. laboratory Testing: Urine drug screen is positive for
amphetamines. Blood chemistry profile and thyroid profile
are within normal limits. A VDRL is nonreactive. Urinalysis
shows moderate amount of calcium oxalate crystals. A
complete blood count and differential shows a low white

blood cell count of 4.0.

d. Activities: The patient is to attend individual and group
psychotherapy, school classes, and other age-appropriate
milieu activities.

CLINICAL COURSE: The patient is a 15-year-old white male brought
to the hospital accompanied by his parents with anger outburst,
extreme oppositionality, walk out the classroom at school and
left, scratching himself until he bleeds, biting his wrist,
punching his mother’s truck, having difficulty sleeping at
night, and refusing to go to school. He is in outpatient
treatment on Lamictal, Abilify, and Adderall. For additional
information, please refer to the admission note.

The patient was initially placed on Lamictal 25 mg q.d., Abilify
15 mg h.s., and Adderall XL 30 mg a.m. There are no side effects
noted from the medications. He is overactive, hyperactive,
agitated and irritable with mood swings. He was given Lamictal
25 mg a.m. and h.s. , Abilify 20 mg h.s., and Zoloft 25 mg a.m.

* Case-2:20-cv-00076-HY J-Wty EEF Net Page!B-49_Fited 64/3/20 Page4o-ef 64

EXHTBIT B
Page 2
Richards, Kyle
HAVENWYCK HOSPITAL Ismail B. Sendi, MD
1525 University Drive MR#: 020015
© Auburn Hills, Michigan 48326 AD: 03/14/05

DD: 03/16/05

PROGNOSIS: Fair-to-quarded.

FINAL DIAGNOSES:

Axis

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I:

II:
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Pervasive Developmental Disorder.

Psychosis NOS.

Cognitive Perceptual Sensory Motor Deficit.
Deferred.

Healthy.

Severe...

GAF: On admission 25-30 and on discharge 42.

JE__ Sm 2)

Ismail B. Sendi, M.D.

Transcribed by Global MD Systems (mdsis.com)

DICTATION DATE AND TIME: 03/27/05 02:25 PM

TRANSCRIPTION DATE AND TIME: 03/28/05 06:30 AM

Case 2:20-cv-00076-HYJ-MV ECF No. 1,

Page 1
Richards, Kyle
HAVENWYCK HOSPITAL Ismail B. Sendi, MD
1525 University Drive MR#: 020015
Auburn Hills, Michigan 48326 AD: 03/14/05

DD: 03/16/05
I
CASE SUMMARY

DISCHARGE SUMMARY AND AFTERCARE PLAN

RESULTS OF ASSESSMENTS AND SIGNIFICANT FINDINGS:

\

a. History, Physical and Neurological Examination: Done ina
previous admission. Please refer to the chart for details.

b. Psychological Testing: Not indicated.

c. Laboratory Testing: Urine drug screen is positive for
amphetamines.

d. Activities: The patient is to attend individual and group

psychotherapy, school classes, and other age-appropriate
milieu activities.

CLINICAL COURSE: The patient is a 15-year-old male brought to the
hospital after threatening to hurt himself with the knife and
arguing with his father. He is very oppositional. The police had
to be called. The patient is most recently on Adderall, Lamictal,
and Abilify. For additional information, please refer to the

admission note.

The patient was initially placed on Adderall XR 50 mg a.m. and
increased dose of Lamictal to 50 mg b.i.d., and Abilify 5 mg
b.i.d. On the unit the patient is very structured responsive. He
is not a problem on the unit. There is no suicidal or homicidal
ideation. There is no aggression. Social worker met with the
patient and father. Confirmed the patient lack of participation
and motivation for treatment. The patient is easily frustrated.
The patient denies suicidal or homicidal ideation.

RECOMMENDATIONS: The patient is discharged with the following

recommendations: The patient will follow up with primary care

physician for all medical concerns. Continue with myself on an
outpatient basis and Bob Baringer. He will also be referred to
behavioral care management for in-home treatment.

MEDICATIONS ON DISCHARGE: Medications at the time of discharge
are Abilify 5 mg b.i.d., Lamictal 50 mg b.i.d, Adderall XR 15 mg

a.m.

PagelD.50 Filed 04/23/20 Page 50 of 51

Case 2:20-cv-00076-HYJ-MV ECFNo.1, PagelD.51 Filed 04/23/20 Page 51of51
Kyle. Ricwaros, Prieoner #GY\FIS

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